           Case 1:05-cr-00250-AWI Document 97 Filed 10/21/08 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     EDGAR BARRAGAN
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) Nos. Cr. F 05-250 AWI
                                     )      Cr. F 05-368 AWI
12                   Plaintiff,      )
                                     ) REQUEST FOR APPOINTMENT OF
13        v.                         ) COUNSEL; ORDER
                                     )
14   EDGAR BARRAGAN,                 )
                                     )
15                   Defendant.      )
                                     )
16   _______________________________ )
17        Pursuant to 18 U.S.C. §§ 3006A(c) and 3852(c)(2), Defendant, EDGAR
18   BARRAGAN, hereby requests the court appoint the Office of the Federal
19   Defender and Assistant Federal Defender David M. Porter as counsel to
20   represent him with respect to the appeal from the judgment denying his
21   motion to reduce sentence pursuant to 18 U.S.C. § 3582(c)(2).
22        A clerk of the Ninth Circuit Court of Appeals has asked the
23   undersigned if an order appointing counsel was entered in this action.
24   While the undersigned filed and argued the motion on behalf of Mr.
25   Barragan, it appears that no formal appointment order was entered.
26        Mr. Barragan was found to be indigent and counsel was appointed
27   under the Criminal Justice Act on June 10, 2005 in Cr. F 05-00204 AWI.
28   Appointment of counsel would serve the interests of justice.
              Case 1:05-cr-00250-AWI Document 97 Filed 10/21/08 Page 2 of 2


1         Accordingly, Mr. Barragan requests the Court issue the order
2    lodged herewith.
3    Dated:    October 16, 2008
4                                  Respectfully submitted,
5                                  DANIEL J. BRODERICK
                                   Federal Defender
6
7                                    /s/ David M. Porter
                                   DAVID M. PORTER
8                                  Assistant Federal Defender
9                                  Seeking Appointment as Attorney for Movant
                                   EDGAR BARRAGAN
10
11
12                                        O R D E R
13        Pursuant to defendant’s request, and good cause appearing
14   therefor, the Office of the Federal Defender and Assistant Federal
15   David M. Porter is hereby appointed to represent defendant with respect
16   to the appeal from the judgment denying his motion to reduce sentence.
17
18   IT IS SO ORDERED.
19   Dated:   October 17, 2008                /s/ Anthony W. Ishii
     0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28

     REQUEST FOR APPOINTMENT OF COUNSEL
                                              -2-
